        Case 8:04-cr-00235-DKC Document 1790 Filed 09/23/15 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                        *
                                                *
                                                *
v.                                              *    Criminal Case No. RWT-04-0235
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                                                *
LAVON DOBIE                                     *
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                                                *
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                                            ORDER

       The Court reduced Lavon Dobie’s sentence from 170 months to 152 months on

December 10, 2014. ECF No. 1729. That reduction will be effective on November 1, 2015. Id.

On March 3, 2015, Dobie filed a Motion to Correct Sentence [ECF No. 1761] stating that the

Bureau of Prisons illegally increased her sentence to 156 months. Dobie’s motion appears to be

based on a misunderstanding of a Bureau of Prisons’ document. The Bureau of Prisons has not

increased Dobie’s sentence to 156 months. Rather, the Bureau of Prisons used a 156-month

sentence to calculate her release date to be November 1, 2015, the effective date of her sentence

reduction. Id. at 5. It appears that, on November 1, 2015, Dobie will be released. As Dobie has

not suffered the harm she claims to have suffered, there is no basis for her motion, and it will be

denied. Accordingly, it is, this 21st day of September, 2015, by the United States District Court

for the District of Maryland,
         Case 8:04-cr-00235-DKC Document 1790 Filed 09/23/15 Page 2 of 2



        ORDERED, that Defendant’s Motion to Correct Sentence [ECF No. 1761] is DENIED;

and it is further

        ORDERED, that the Clerk shall mail a copy of this Order to Defendant.



                                                                /s/
                                                            ROGER W. TITUS
                                                     UNITED STATES DISTRICT JUDGE




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